Case 17-00052   Doc 14   Filed 12/21/17 Entered 12/21/17 23:38:02   Desc Imaged
                         Certificate of Notice Page 1 of 2
                                               United States Bankruptcy Court
                                               Southern District of Alabama
Nova Security Group, Inc.,
         Plaintiff                                                                                Adv. Proc. No. 17-00052-HAC
Nova Electric Immobilization Devices, PL,
         Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 1128-1                  User: LeeT4117                     Page 1 of 1                          Date Rcvd: Dec 19, 2017
                                      Form ID: pdf1                      Total Noticed: 2

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 21, 2017.
dft            +Nova Electric Immobilization Devices, PLC,   4481 Legendary Drive, Ste 201,
                 Destin, FL 32541-5381
pla            +Nova Security Group, Inc.,   P.O. Box 3755,   Gulf Shores, AL 36547-3755

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 21, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 19, 2017 at the address(es) listed below:
              Irvin Grodsky    on behalf of Plaintiff   Nova Security Group, Inc. igpc@irvingrodskypc.com,
               ruthl@irvingrodskypc.com
                                                                                            TOTAL: 1




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                                                Certificate of Notice Page 2 of 2
